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AO 245B (Rev. 09/19) Judgment in a Criminal Case

Sheet 1
UNITED STATES DISTRICT COURT
Eastern District of Pennsylvania
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
v. )
Case Number: DPAE2:22CRO00288-001
PATRICK MCGOVERN-ALLEN USM Number: 16090-510

) Naney MacEoin, Esq.

} Defendant's Attorney
THE DEFENDANT:
pleaded guilly to count(s) _is-3s
[_] pleaded nolo contendere to count(s)

which was accented by the court,
[] was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Ceunt
18:2261A(4),2261(b) and Stalking Jan, 2022 Is
2261B
18:844(h) and 2 Use of fire in commission of a federal felony, aiding and abetting Jan, 2022 28
18:2261A(1),2261(b) Stalking Jan, 2022 3s
The defendant is sentenced as provided in pages 2 through 7 of this judgment, The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
L} The defendant has been found not puilty on count(s)
[1 Count(s) LJ is (1 dismissed on the motion of the United States,

It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances,

October 17, 2023

ate of Amposition of Judgment

Cf | ald Ox Ms ye gee tf

Sianature of Judge Mee

Gerald J. Pappert, United States District Judge
Name and Title of Judge

é CW Cabin Z Y, AS 4s

Date
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AQ 245B (Rev, 09/19} Judgment in Criminal Case
Sheet 2 — Imprisonment

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of 7

DEFENDANT: PATRICK MCGOVERN-ALLEN
CASE NUMBER: 22-CR-288

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

160 MONTHS. This term consists of 40 months on each of Counts 1s and 3s, such terms to be served concurrently, and a term of 120
months on Count 2s, such term to be served consecutively to the terms imposed on Counts Is and 3s to the extent necessary to produce a

total term of 160 months

The court makes the following recommendations to the Bureau of Prisons:
It is recommended the defendant be evaluated for the RDAP program
It is recommended the defendant be designated close to the Philadelphia area

& The defendant is remanded {(o the custody of the United States Marshal.

[] The defendant shall surrender to the United Siates Marshal for this district:

CI at Cham. (J pm. on
(1 as notified by the United States Marshal.

(1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

C1 before 2 p.m. on

EJ] as notified by the United States Marshal.

[1 as notified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/19} Judgment in a Criminal Case
Sheet 3 — Supervised Release

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DEFENDANT: PATRICK MCGOVERN-ALLEN
CASE NUMBER: = 22-CR-288
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:
3 YEARS. This includes a term of 3 years on Counts 1s, 2s, and 3s, all such terms to be served concurrently

MANDATORY CONDITIONS

You must nol commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined by the court.

Wh te

(] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check if applicable)

4. (1 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check if applicable)

5. DX You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
C1 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as

directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

7. (1 You must participate in an approved program for domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 3A —- Supervised Release

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DEFENDANT: PATRICK MCGOVERN-ALLEN
CASE NUMBER: 22-CR-288

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These condilions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by
probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
iime frame.

2. After inilially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report (o the probation officer as instructed,

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from

the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer, If you plan to change where you live or anything about your living

arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If

notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
within 72 hours of becoming aware of a change or expected change.

6. You must allow the probation officer lo visit you at any time at your home or elsewhere, and you must permit the probation officer
io take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least
10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.

8. You must noi communicate or interact with someone you know is engaged in criminal activity. f you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer,

9, Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10, You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything thal
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers),

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant withoul
first getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction, The probation officer may contact the
person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

wn

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions, For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.20v.

Defendant's Signature Date

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Sheet 36 --- Supervised Release

Judgment—Page 5 of 7

DEFENDANT: PATRICK MCGOVERN-ALLEN
CASE NUMBER: = 22-CR-288

ADDITIONAL SUPERVISED RELEASE TERMS

The defendant shall refrain from the illegal possession and/or use of drugs and shall submit to urinalysis or other forms of testing to
ensure compliance. It is further ordered that the defendant shall participate in drug treatment and abide by the rules of any such program
until satisfactorily discharged.

The defendant shall participate in a mental health program for evaluation and/or treatment and abide by the rules of any such program
until satisfactorily discharged.

The defendant shail submit to an initial inspection by the U.S. Probation Office and to any examinations during supervision of the
defendant’s computer, cell phone, and any devices, programs, or application. The defendant shall allow the installation of any hardware
or software systems which monitor or filter computer use. The defendant shall abide by the standard conditions of computer monitoring
and filtering that will be approved by this Court. The defendant is to pay the cost of the computer raonitoring not to exceed the monthly
contractual rate, in accordance with the probation officer’s discretion.
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AO 245B (Rev, 09/19) Judgment in a Criminal Case
Sheet 5 -~ Criminal Monetary Penalties

Judgment — Page 6 of 7
DEFENDANT: PATRICK MCGOVERN-ALLEN

CASE NUMBER: 22-CR-288
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6,

Assessment Restitution Fine AVAA Assessment* JIVTA Assessment®**
TOTALS $ 300.00 $ 0.00 $§ 9.00 $ $ 0.00
[1 The determination of restitution is deferred until » AnAmended Judgment in a Criminal Case (AO 245C) will be

entered after such determination,
[i The defendant must make restitution (including community restitution) to the following payees in the amount lisied below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or perceniage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be
paid before the United States is paid.

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
Payable to Clerk, U.S.

District Court

TOTALS $ $

C1 Restitution amount ordered pursuant to plea agreement $

[1 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in Cull before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

L} The court determined that the defendant does not have the ability to pay interest and it is ordered that:

(] the interest requirement is waived for [C1 fine (2) restitution.

C1 the interest requirement for [] fine (] restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299,

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22,

*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/19) Judgment in a Criminal Case
Sheet 6 — Schedule of Payments

Judgment — Page 7 of 7

DEFENDANT: PATRICK MCGOVERN-ALLEN
CASE NUMBER: = 22-CR-288

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A W& Lump sum payment of $ 300.00 due immediately, balance due
L] not later than , Or

(1 inaeccordancewith  c O bp, 0 Bor OF below; or

[| Payment to begin immediately (may be combined with [C, OD,or [OF below); or
C [4 Payment in equal {e.g., weekly, monthly, quarterly} installments of $ over a period of
fe.g., monils or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or
D (4 Payment in equal (e.g. weekly, monthly, quarierly) installments of $ over a period of

(e.g., mouths or years), to commence fe.g., 30 or 60 days) after release from imprisonment toa

term of supervision; or

E [) Payment during the term of supervised release will commence within (2.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F (© Special instructions regarding the payment of criminal monetary penalties:

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court,

The defendant shalt receive credit for all payments previously made toward any criminal monetary penalties imposed,

[1 Joint and Several

Case Number
Defendant and Co-Defendant Names Joint and Several Corresponding Payee,
(including defendant number) Total Amount Amount if appropriate

[] The defendant shall pay the cost of prosecution.
L] The defendant shail pay the following court cost(s):
["] The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) VTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
